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EASTERN I)IVISION " 34
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CAROLYN\LSCOTLINDDHDUALLY, H@OQ§YH?QM;
AND AS NEXT OF FRIEND OF “'"‘ *~-'WO-v f
DESHAVWQSCOTT,
Plaintiff,
vS. No. 04-1284-T

WILLIAM ROGERS, CHRISTINE
ROGERS; and BETH MCCLURE d/b/a
REALTY SHOPPE,

Defendants.

AMENDED ORDER OF REFERENCE

The above-Styled ease is hereby referred to United States Magistrate Judge Diane
Vescovo for a new Scheduling order.

IT IS SO ORDERED.

E_MAW 114 /) M

J IF.TODD
I",l]`£ED STATES DISTRICT J'UDGE

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DATE

 

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This notice confirms a copy of the document docketed as number 34 in
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Carol Gish

WEST TENNESSEE LEGAL SERVICES7 INC.
210 West Main St.

Jackson7 TN 38301

Michael L. Weinman
WEINMAN & ASSOCIATES
114 S. Liberty St.

Jackson7 TN 3 8302

Carthel L. Smith

LAW OFFICES OF CARTHEL SMITH, IR.
85 E. Church Street

LeXington, TN 38351

Bradley G. Kirk

CARTER STANFILL & KIRK
25 Natchez Trace Dr.
LeXington, TN 38351

Honorable J ames Todd
US DISTRICT COURT

